   Case 18-29180-MBK                Doc 57       Filed 04/02/20 Entered 04/02/20 11:44:12                       Desc Main
                                                Document      Page 1 of 1

  UNITED STATES BANKRUPTCY COURT
  DISTRICT OF NEW JERSEY



  Albert Russo
  CN 4853
  Trenton, NJ 08650
  609-587-6888
  Standing Chapter 13 Trustee

  In re:

  Stephanie West
                                                                      Case No.: 18-29180 / MBK

                                                                      Chapter: 13
                                     Debtor
                                                                      Judge: Michael B. Kaplan


                                     NOTICE DEPOSITING UNCLAIMED FUNDS
                                        PURSUANT TO D.N.J. LBR 3011-1(a)


    Albert Russo, Trustee in the above captioned matter states that the entire amount in the Trustee's Account has
been disbursed and that the following funds remain unclaimed.                     The undersigned shall immediately forward a
check to the court in the amount of $3,320.72, payable to the Clerk, United States Bankruptcy Court.                    The parties
entitled to said funds are listed below together with their last known address.


                                PAYEE NAME AND ADDRESS                                                   AMOUNT

     Darryl West                                                                                                 $3,320.72
     20 Dixon Dr
     Woodbridge, NJ 07095-2103




DATED: 4/2/2020                                                                                      /s/ Albert Russo
                                                                                          Albert Russo
                                                                                          Standing Chapter 13 Trustee
